Case 3:05-cr-30027-NJR          Document 313 Filed 09/15/10            Page 1 of 2     Page ID
                                          #841



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JOHN McCRAY, Sr., et al

Defendants.                                                        No. 05-CR-30027-DRH

                              MEMORANDUM AND ORDER

HERNDON, Chief Judge:

               Now before the Court is Strahan’s motion and affidavit to proceed in

District Court without prepaying fees or costs (Docs. 312). The Court DENIES this

motion. First, Strahan’s motion does not state the circumstances for which he would

like to proceed in the District Court without prepaying fees or costs. Second, there

is nothing pending in Strahan’s criminal case as it is closed.

               Previously on June 25, 2010, the Court denied Strahan’s motion to

compel production of records, transcripts and discovery material (Doc. 310).1 In

that Order, the Court reiterated its findings regarding Strahan’s credibility and found

that Strahan’s counsel Steven Stenger complied with Strahan’s requests. Further,

the Court notes in order to obtain transcripts/documents free of charge Strahan must

demonstrate: (1) that he has exhausted all means of access to his files (i.e. through



       1
       In that motion, Strahan moved to compel his former counsel to return his case file so that
he may prepare his Section 2255 habeas petition.

                                          Page 1 of 2
Case 3:05-cr-30027-NJR      Document 313 Filed 09/15/10        Page 2 of 2    Page ID
                                      #842



his trial and appellate counsel), (2) that he is financially unable to secure access to

his court files (i.e., through a showing similar required in 28 U.S.C. § 1915(a)(2)

which includes a certified copy of the prisoner’s account for the previous six-month

period prior to filing), and (3) that the documents requested are necessary for the

preparation of some specific non-frivolous court action. See United States v.

Wilkinson, 618 F.2d 1215, 1218-19 (7th Cir. 1980); Rush v. United States, 559

F.2d 455, 459 (7th Cir. 1977). Bald allegations that he needs the documents will

not do. Moreover, case law indicates that Strahan must first file the 2255 action in

order to obtain transcripts. See United States v. Horvath, 157 F.3d 131, 132-33

(2nd Cir. 1998)(collecting cases).

             IT IS SO ORDERED.

             Signed this 15th day of September, 2010.

                                                     /s/    DavidRHer|do|
                                                     Chief Judge
                                                     United States District Judge




                                      Page 2 of 2
